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zEPPoRIAH EDMONDS * No. 201 s-cA-ozos
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VERSUS
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APPEAL FROM

CITY CIVIL SERVICE COMMISSION ORLEANS
NO. 8444 C/W 8467, 8485

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Judge Regina BartholomeW-Woods
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(Court composed of Judge Roland L. Belsome, Judge loy Cossich Lobra.no, Judge
Regina BartholomeW-Woods)

LOBRANO, J., CONCURS IN THE RESUL'I` AND ASSIGNS REASONS

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Brett John Prendergast
ATTORNEY AT LAW

4603 South Carrollton Avenue
New Orleans, LA 70119

COUNSEL FOR PLAINTIFF/APPELLANT

Elizabeth Robins

DEPUTY CITY ATTORNEY
Corwin M. St. Raymond
ASSISTANT CITY ATTORNEY
Sunni J. LeBeouf

CITY ATTORNEY

1300 Perdido Street, Room 5E03
New Orleans, LA 70112

COUNSEL FOR DEFENDANT/APPELLEE

REVERSED
DECEN[BER 5, 2018

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These consolidated appeals challenge various final decisions of the New

Orleans Civil Service Commission, the review of;_which this Court possesses

m jurisdiction pursuant to La.Const. art. X, section 12. For the reasons that follow, We

reverse the decision of the Civil Service Commission, and order that Ms. Edrnonds
be reinstated to her former position as Parking Administrator.
PROCEDURAL BACKGROUND

Zepporiah Edmonds was a long-time employee of the City of New Orleans
(“the City”) Department of Public Works (“DPW”). In 2006, Ms. Edmonds was
promoted to the classified position of Parking Administrator, and held that position
at all times relevant to the instant appeals In September and October of 2015 , Ms.
Edmonds tiled two appeals With the City’s Civil Service Commission ,(“the
Commission”). The first appeal was filed in response to a letter concerning a pre-
termination hearing, and the second was filed in response to a notice of emergency
suspension

On January 11, 2016, Ms. Edmonds Was terminated by DPW’s Director,
Colonel Marlc Jernigan. DPW alleged four bases for her termination However,

these appeals concern only one basis, that being her alleged failure to cooperate

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with an investigation initiated by the City’s Oflice of the Inspector General
(“OIG”). Ms. Edmonds also appealed her termination to the Commission in
February of 2016.

A hearing examiner for the Commission heard testimony over a period of
nine (9) days between April 21, 2016, and March 13, 2017. On August 2, 2017, the
hearing examiner rendered a written report concluding “that the DPW failed to
prove by a preponderance of evidence that [Ms. Edmonds’] emergency suspension
and termination were for cause.”

()n September 5, 2017, the Commission rendered its decision finding that
Ms. Edmonds “did engage in misconduct” regarding the OIG investigation, but
that “such misconduct did not warrant terlnination.”l However, the Commission
found “[t]here was nothing in the record to assist the Commission in determining
what an appropriate level of discipline would be in the matter now before us.” The
Commission therefore remanded the matter back to the hearing examiner to
determine the appropriate level of discipline

Upon remand, a hearing was conducted and the hearing examiner issued a
report, describing the parties as having provided “no assistance whatsoever in
determining what the appropriate level of discipline should be in accordance with
the Commission’s mandate.” A review of the hearing transcript indicates that the
parties did indeed simply rehash the merits of their cases, though DPW suggested a
166-day suspension would be appropriate, along with demotion.2 However, the

examiner concluded that an appropriate penalty could be recommended based on

 

l Notably, DPW alleged several bases for Ms. Edmonds’ tennination; however, the Commission
found it had only met its burden with respect to her failure to cooperate With the particular OIG
investigation

2 DPW did indicate that by participating in the hearing it was not waiving its right to appeal the
Commission’s reversal of Ms. Edmonds’ termination

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the record and his personal experience, with reference to the New Orleans Police
Department Penalty Matrix. The hearing examiner accordingly recommended a
one-day suspension

On November 16, 2017, the Commission rendered a 2-1: decision The
majority declined to follow the recommendation of the hearing examiner.
However, the Commission agreed several mitigating factors existed, to Wit: a lack
of prior discipline during Ms. Edmond’s thirty-two (32) year career at DPW; her
prior cooperation with OIG investigations; her “serious personal illness;” and
indications that she had been “overwhelmed” by her workload during the relevant
period. Nonetheless, the Commission reaffirmed its position that Ms. Edmonds’
engaged in “serious misconduct” and accordingly found “involuntary demotion to
a lower classification” to be an appropriate penalty. The Commission ordered
DPW to reinstate Ms. Edmonds to the position of Assistant Parking Adrninistrator
“at a step that would result in no greater than a $3,000/yr. reduction in salary.” The
Commission reasoned that such reduction would be equivalent to a sixty-day
unpaid suspension DPW was also instructed to remit all back pay and emoluments
consistent with her reclassiiication dating back to January 11, 2016. The dissenting
commissioner would have simply imposed a sixty-day unpaid suspension

Both Ms. Edmonds and DPW have appealed the decisions of the
Commission Speciiically, Ms. Edmonds seeks review of the Commission’s
September 5, 2017 decision finding she engaged in misconduct warranting
discipline with respect to the OIG investigation arguing the Commission
“manifestly erred” in making several iindings. She hirther appeals her demotion
arguing such discipline is not commensurate with the conduct in question DPW

also appeals the Commission’s decision regarding Ms. Edmonds’ discipline,

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suggesting that its decision to terminate Was indeed warranted Ms. Edmonds’ also
appeals the Commission’s denials of her motions to reconsider its decisions.
FACTUAL BACKGROU`ND

The OIG investigation in question commenced in 2014, a time at which the
OIG was conducting a number of investigations into the Parking Division. ln
summary, the OIG sought to determine whether certain Parking Control Ofiicers
(“PCOS”) had issued citations to patrons and employees of hotels in retaliation
against those hotels after being asked to leave the establishments for loitering. OIG
lnvestigator Eddie l-lernandez first met with Ms. Edmonds on August 11, 2014.
Ms. Edmonds and Mr. Hernandez had differing accounts of exactly what occurred
during this initial meeting. lt is unclear exactly what Mr. Hemandez requested at
that time because he did not put anything into a formal written document The
Commission’s September 5, 2017 ruling even stated that it was “surprised that Mr.
I-Iernandez did not make his original request for information in Writing.” Ms.
Edmonds did testify that Mr. Hernandez “scribbled some stuff on the back of a
piece of papei” that did not concern the retaliatory actions of the PCOS, and it is
not clear if the list was given to her or retained by Mr. Hernandez. She also stated
“[h]e couldn’t even find the paper. That’s why he sent me an email[,]” referring to
a December 18, 2014 e-mail requesting she send a copy of the list of items he
requested Mr. Hernandez confirmed this during his testimony. Mr. Hernandez also
testified that he asked his supervisor whether he needed to type anything up for the
meeting and was told that it was not necessary. Apparently, as a result of Ms.
Edmonds’ perceived lack of cooperation the OIG has instituted a “Zepporiah

Rule” now requiring all requests be put in writing for record purposes.

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The Commission was presented with texts exchanged between Ms. Edmonds

and Mr. Hernandez, specifically one sent to Ms. Edinonds on Septernber 17, 2014,

asking if “the items” were ready to be picked up. Ms. Edmonds responded with a

time at which Mr. Hernandez could stop by the office, but she was unable to fulfill
the commitment because she was at Tulane Hospital for an unspecified reason
Communications continued into November, when Ms. Edmonds indicated her
absence horn work “until further notice” due to an illness. She also conveyed her
understanding that Mr. Hernandez was working with Sherida Emery in her
absence. Mr. Hernandez replied that he had contacted Ms. Emery, but that Ms.
Emery had not responded. Ms. Edmonds responded that she was chagrined at her
office’s lack of response, but added that Ms. Emery was “overwhelined” and
“working triple duty which is causing her to be pulled in many different
directions.”

Ms. Emery testified that she Worked to fulfill Mr. Hernandez’s requests
while Ms. Edmonds’ dealt with her illness, though she did not possess the same
authority as Ms. Edmonds and therefore was unable to make a request of Xerox for
the records in question As a result, she contacted Xerox and obtained contact
information for an individual named Brett Peze, who could provide Mr. Hemandez
with the information he needed Later in the hearings, Richard Boseman
Administrator for the Hearing Center and Parking Administrator, testified that he
was familiar with the capabilities of the Xerox system used by DPW, and that any
reports such as that requested by Mr. Hemandez would need to be requested
directly nom Xerox.

The Commission also reviewed several other e-mails. The iirst, the e-mail

from Mr. Hernandez on December 18, 2014, requested Ms. Ednionds provide “a

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copy [of] the list of items that l requested that we discussed earlier this year.” The
Commission interpreted the e-mail to suggest that Mr. Hemandez did not recall
what information he had initially requested in the August, 2014 meeting. ln the
second e-niail, Ms. Edinonds contacted Mr. Hernandez again on February 13,
2015, responding to his February 9, 2015 follow-up to an e-mail he had sent earlier
that year. The Commission described the latter e-mail, sent January 12, 2015, as
“far more indicative of the types of inquiries the Commission has reviewed as part
of an OIG investigation.” She apologized for the delay, indicating a
misunderstanding on her part, as she believed an answer had been provided earlier.
She also indicated that she was in the midst of organizing for the upcoming Mardi
Gras holiday, yet she provided written answers to the numerous questions posed by
Mr. Hernandez. Her e-mail indicated that the Parking Division was transitioning
from Xerox to Duncan Solutions as its vendor, and confirmed that an individual
named Brett Peze would be the appropriate contact person for tickets issued prior
to the transition Ms. Edmonds added in her response her understanding that “[y]ou
[Mr. Hemandez] agreed to contact Mr. Peze directly.” Notably, she made this
statement in response to his question “Is Brett Peze the best person for me to speak
with concerning the tickets [prior to DPW’s transition nom Xerox to Duncan]?”
She also explained that when the Parking Division used Xerox, a specific request
had to be made to “the Project Manager” for reports indicating Which tickets were
written in a particular geographic area. She also informed Mr. Hernandez that
Xerox could not provide GPS data, nor did the phones provided to PCOS have GPS
functionality at the relevant time.

Mr. Hernandez did contact Mr. Peze at Xerox, who indicated that the data

could indeed be provided, but that no one from the Parking Department had ever

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made such a request By the time the OIG made its own request, on March 25,
2015, Mr. Hernandez testified it was his understanding that the information had
been transferred to Duncan Solutions and would be prohibitively expensive for
Xerox to recreate. Howard Schwartz, the Assistant lnspector General for
Investigations, testified that by the time OIG contacted Xerox itself, Xerox was
still capable of producing what was needed, but that “it Wasn’t worth putting the
resources in” given the time and cost. He further testified that “[w]e could have
gotten those records from where they were archived [at Duncan Solutions] at a
later date . . . [but] l didn’t think it was worth the resources to do it at that time.”
When asked about the accompanying costs, Mr. Schwartz stated, “l don’t
remember the numbers, but to me it was not worth going to get those at a year,
year and a half later.”

Mr. Hemandez testified that Ms. Edmonds was generally cooperative in his
investigations aside horn the investigation into retaliatory tickets issued by PCOs.
He was of the understanding that DPW “didn’t have the database” with the
information he required, but that Xerox did He stated there would be a “large
expense” associated with recreating the information at Xerox, as the information
had been transferred to Duncan He suggested that Ms. Edmonds had been
intentionally uncooperative, noting “five to six months” of delay between their
initial meeting and when he received some responsive information

Ms. Edmonds testified over several days during the hearings ln pertinent
part, she testified it Was never her “charge” to contact Mr. Peze at Xerox, referring
to the e-mail indicating that Mr. Hemandez had agreed to do so. She also testified
to having told Mr. Herriandez that her office lacked the resources and staff to

manually search for the ticket information because the office was “in transition”

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with its vendors. She stated her office could not personally access Xerox’s data as
a result of the transition and that to obtain it required “an additional cost.” She also
explained that even though DPW extended its contract with Xerox through the end
of August 2014, the extension did not permit DPW to go iii and “operate their
system.” She explained the records were only provided in a “read only” format

The OIG released its report on June 17, 2015, and relative to PCO
misconduct, indicated that it was unable to determine whether retaliatory tickets
had been issued due to lack of required documentation Colonel Mark Jernigan,
Director of the DPW and the individual who terminated Ms. Edmonds, testified
that he “relied on the OIG report” as the basis for her termination

The Commission recognized that it would be “unreasonable” to expect an
immediate response from Ms. Edmonds regarding the inquiry, but also noted that
Mr. Hernandez’s “polite inquiries” did not sufficiently prompt Ms. Edmonds’
“focus on production.” The Commission did acknowledge Ms. Edmonds’ busy
work schedule and illness contributed to the delays, but that those issues “did not
relieve the DPW or the Parking Division of the responsibility to respond to the
various requests for information.” To the extent Ms. Edmonds’ delegated authority
in her absence, the Commission took the position that she “did a poor job of
following through on this delegation and did not closely monitor Ms. Emery’s
response.”

The Commission found that Ms. Edmonds should have started the process of
either manually gathering the required information or contacting Xerox in August
2014. lt expressly stated that her failure to do so was not “intentional or

purposefully designed to thwart the OIG’s investigation[,]” but it nonetheless

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constituted a “failure to take appropriate action” and “hindered the OIG’s
investigation into PCO misconduct.”
STAN])ARD OF REVlEW

The appointing authority in this matter, DPW, required cause to discipline
Ms. Edmonds for the conduct in question La.Const. art. X, section S(A).3 “A
classified employee subjected to such disciplinary action shall have the right of
appeal to the appropriate commission pursuant to Section 12 of this Part.[4] The
burden of proof on appeal, as to the facts, shall be on the appointing autliority.” Id.

This Court, in Waguespack v. Dep ’t OfPoli`ce, 2012-1691, pp. 3-4 (La.App.
4 Cir. 6/26/13), ll9 So.3d 976, 977-78, discussed the appellate standard of review
applicable to a decision of the Commission:

The decision of the Civil Service Commission is subject to review on
any question of law or fact upon appeal to this Court, and this Court
may only review findings of fact using the manifestly
erroneous/clearly wrong standard of review. La. Const. art. X, §
12(3); Cure, 07~0166, p. 2, 964 So.2d at 1094. ln determining
whether the disciplinary action was based on good cause and whether
the punishment is commensurate with the infraction this Court should
not modify the Civil Service Commission determination unless it is
arbitrary, capricious, or characterized by an abuse of discretion Id. A
decision by the Civil Service Commission is “arbitrary or capricious”
if there is no rational basis for the action taken by
the Civil Service Commission Cure, 07~0166, p. 2, 964 So.2d at
1095. The appointing authority has the burden of proving, by a
preponderance of the evidence, that the complained of activity or
dereliction occurred, and that such dereliction bore a real and

 

3 “No person who has gained permanent status in the classified state or city service shall be
subjected to disciplinary action except for cause expressed in writing.”

4 Subsection (B) of this section provides:

Each city commission established by Part l of this Article Shall have the
exclusive power and authority to hear and decide all removal and disciplinary
cases, with subpoena power and power to administer oatlis. lt may appoint a
referee to take testimony, with subpoena power and power to administer oaths to
witnesses. The decision of a commission shall be subject to review on any
question of law or fact upon appeal to the court of appeal wherein the commission
is located, upon application filed with the commission within thirty calendar days
after its decision becomes final.

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substantial relationship to the efficient operation of the appointing

authority Cure, 07-0166, p. 2, 964 So.2d 1094, citing Marzi'ale, 06-

0459, at p. l0, 944 So.2d at 767 .

Furthermore, this Court stated in Srokes v. Code Enf’t & Heari'ng Bureau, 2013-
0203, p. 4 (La.App. 4 Cir. 10/2/l3), 126 So.3d 590, 593:
When there is a conflict in testimony, reasonable evaluations of
credibility and reasonable evaluations of fact should not be disturbed

on review, i.e. when there are two permissible views of evidence, the

fact finder’s choice cannot be manifestly erroneous Saac/cs‘ v. City of

New Orleans, 95-2074 (La.App. 4 Cir. 11/27/96), 687 So.2d 432,

440.

ANALYSIS

This case is different from many of the cases that come before this Court on
appeal from a decision of the Commission as a result of Ms. Edmonds’ high rank
within the DPW as Parking Administrator, below only Colonel Jernigan, he being
the Director of the DPW. Thus, as such a high-ranking official, we are especially
mindful of Ms. Edmonds’ obligation to ensure the “effieient operation” of her
division within the DPW. I-Iad PCOS retaliated against local businesses, the DPW’s
efficient operation would surely be affected The question for this court is whether
Ms. Edmonds herself committed an infraction related to such incidents, and
whether good cause existed based upon the proven infraction to sanction her.

There is no doubt that Ms. Edmonds, as the head of the Parking Division
was obligated to cooperate with the investigation conducted by the OIG. “All
officers and employees of covered agencies shall extend fiill cooperation and all
reasonable assistance to the inspector general.” La.R.S. 49:220.24(E).

ln Honore v. Dep’t ofPub. Works, 2014-0986, pp. 16-17 (La.App. 4 Cir.
10/29/15), 178 So.3d 1120, 1131, this Court discussed termination as follows:

Termination from permanent employment is the most extreme
form of disciplinary action that can be taken against a city

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employee Hills v. New Orleans City Council, 98-1101, p. 6 (La.App.
4 Cir. 12/09/98), 725 So.2d 55, 58. Cause that may justify some other
lesser form of disciplinary action may not necessarily justify a
dismissal. Dept. of Public Sa_&ty and Corrections, Ojj?ce Of State
Polz'ce v. Mensman, 95-1950, p. 4 (La.4/8/96), 671 So.2d 319, 321. In
reviewing the disciplinary action taken by the Appointing Authority,
“the Commission must consider whether the punishment was
commensurate with the proven infractions under the

circumstances.”ld., 95~1950, p. 5, 671 So.3d at 322, The nature of

the offense in question is one factor to be considered by the

Commission when determining whether the punishment imposed is

commensurate with the offensel Other factors to be considered include

the employee’s work ethic, prior disciplinary records, job evaluations,

and any grievances filed by the employee See Hl`lls, 98-1101, p. 6,

725 So.2d at 58.
Using Honore as a guide, we agree with the Commission’s finding that termination
was not appropriate under the circumstances However, we find that the
Commission manifestly erred in finding that DPW proved by a preponderance of
the evidence that Ms. Edmonds engaged in any activity or conduct detrimental to
the efficient operation of DPW. Accordingly, we additionally find the imposition
of any discipline unjustified
The Nature of the Alleged Offense

lt is undisputed that the OIG did not obtain the documentation it needed to
determine whether PCOs had acted in a retaliatory fashion. Much as Ms. Edmonds
and her division had an obligation to cooperate with the OIG, OIG Was duty bound
to “do all things necessary to carry out [its] functions.” La.R.S. 49:220.24(1\/1). We
note that Mr. Hernandez did not formally put any request in writing until months
after the initial August meeting While Ms. Edmonds had responded in a
cooperative fashion after August, there appeared to be confusion regarding the
exact information being requested, as Mr. Hernandez contacted Ms. Edmonds

again in December, 2014 for “a copy [of] the list of items that l requested that we

discussed earlier this year.” Furthermore, during the period between the initial

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August ll, 2014 meeting and January 12, 2015 email, Ms. Edmonds was
undergoing treatment for her illness, and had referred Mr. Hernandez to Ms.
Emery, to whom she had delegated certain tasks in her absence. Ms. Emery
provided Mr. Hernandez with the contact information for Brett Peze at Xerox, and
she was of the understanding that Mr. Hernandez would be the one to contact Mr.
Peze.

Upon receiving a follow-up e-mail on February 9, 2015, Ms. Edmonds
responded to Mr. Hernandez’s multiple inquiries, indicating, in writing, her
understanding that he would contact Xerox himself Mr. Hernandez apparently had
no objection to this statement, only emailing Ms. Edmonds again on February 26,
2015, stating he needed “those reports we discussed” by March 6, 2015, in order to
complete his own report. Despite this March 6th deadline, Mr. Hernandez did not
contact Xerox until after that date.

Indeed, the OIG itself had the ability to obtain the documentation in
question. The Commission instead suggested that as of the August 11, 2014
meeting, there were only two options, both of which fell on Ms. Edmonds’
shoulders, and both of which presumed that Mr. Hernandez clearly articulated both
his requests and his expectations First, she could have instructed her staff to
manually look through the records. However, the Commission’s report stated it
“does not question” Ms. Edmonds’ statements that such a task “would have
consumed most, if not all, of [her] administrative resources.” The DPW was indeed
required to cooperate with OIG’s investigation; however, the law also states that
such cooperation extends to “reasonable assistance.” We do not find it reasonable
to expect that Ms. Edmonds would use “all” of her administrative resources for a

single task related to a single OIG investigation, considering that several

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investigations were ongoing, and especially given the day-to-day obligations of the
position and additional demands posed by the Division’s transition from Xerox to
Duncan. The second option put forward by the Commission would have required
Ms. Edmonds to contact Xerox herself While Ms. Edmonds could have done so,
the record indicated at a minimum, confusion regarding who would contact Xerox.
Specifically, Mr. Hernandez failed to put his requests into a formal written
document Though not required_and notwithstanding the fact that he was
specifically told such action was unnecessary by a supervisor-had such a
document been provided, much of the ensuing confusion could have been
mitigated or altogether eliminated

Indeed, a third option existed Ms. Edmonds’ understanding, evidenced by
her February 13, 20l5 email, was that Mr. Hernandez would contact Xerox
himself. Ms. Emery testified that as a result of Ms. Edmonds’ absence from work
during her illness, she took on the task of providing the relevant information to Mr.
Hernandez, and she provided the contact information for Brett Peze at Xerox, Mr.
Hemandez had the contact information for months, yet took no action to follow
through with it. Even after receiving Ms. Edmonds’ email in February which
explicitly indicated that she had no intention of contacting Xerox because he had
agreed to do so, Mr. Hernandez voiced no concern. lnstead, he followed up with
another email, stating he was “going to need those reports that we discussed no
later than March 6, 2015.” At a minimum, the record reflects a complete
misunderstanding between the parties. While Mr. Hernandez was persistent in
communicating his need, in very general terms for “items” or “reports,” only Ms.
Edmonds made it explicit, in writing, that she understood Mr. Hemandez would

contact Xerox for the relevant information

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Other Factors Relevant to Discipline

We must not only consider the nature of the offense, but also other
mitigating factors, some of which the Commission accounted Honore also
suggests that “the employee’s work ethic, prior disciplinary records, job

evaluations, and any grievances filed by the employee” be taken into considerationl

t On these counts, the Commission found no issues Indeed, the Commission cited

Ms. Edmonds’ length of service with “overwhelmingly positive performance
evaluations” without prior discipline as mitigating factors, as well as her previous
cooperation with other OIG investigations5 Unlike DPW, we do find these to be
relevant mitigating factors. DPW suggests Ms. Edmonds’ conduct called into
question her competence and ability to fulfill her duties, while neglecting pertinent
mitigating factors, to wit: Ms. Edmonds’ chrome illness for which she was
undergoing treatment at the relevant time, which caused her to miss significant
time at work during the fall of 2014, at the very time Mr. I-Iernandez was
conducting his investigation; the timing of the investigation during the Parking
Division’s transition from one ticket processing vendor to another, which limited
the Parking Division’s access to pertinent information; and OIG’s failure to put its
requests into writing from the outset of the investigation DPW also suggests that
the offense in question was so grave as to “overshadow" her otherwise
unblemished thirty-two (32) year career of service with the DPW. However, this
Court finds it difficult to reconcile such a statement with OIG’s position that it was
not “worth it” to obtain the documents in question itself despite an ability to do so,

especially given Colonel Jernigan’s seeming reliance on the report as the only

 

5 The Commission’ s first report also cited Ms. Edmonds’ apparent lack of awareness that she
could be disciplined for her conduct as a mitigating factor. We agree with DPW that such a
consideration ts of limited if any, value.

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basis for Ms. Edmonds’ termination The Commission itself concluded that “the
OIG’s decision not to expend additional resources to obtain the requested
information suggests that the OIG did not view the information as vital to its
investigation.”
Termination

Considering the totality of the circumstances, this Court does not conclude
that the Commission abused its discretion in declining to uphold the DPW’s
imposition of the “most extreme” form of discipline available Indeed, termination
has often been upheld in cases involving intentional and egregious conduct. Krupp
v. Dep’t of Fz're, 2007-1260, pp. lO-ll (La.App. 4 Cir. ll/l9/08), 995 So.2d 686,
693 (affirrning termination for an employee who was untruthful and attempted to
alter a positive drug test evidencing his recent use of cocaine); Willz`ams v.
Sewerage & Water Bd., 2004-0025, p. 9 (La.App. 4 Cir. 5/19/04), 876 So.2d 117,
122 (affirming termination for employee who struck another in violation of
appointing authority’s zero-tolerance policy regarding workplace violence);
Reynolds v. Dep ’t of Prop. Mgmt., 577 So.2d 1026, 1027 (La.App. 4 Cir. 1991)
(afiinning termination for employee who “absented himself” from work for an
entire week without notifying his supervisor, despite having been previously
warned for similar conduct).
Other Discipline

We next turn to whether the Commission abused its discretion by demoting
Ms. Edmonds to Assistant Parking Administrator with its resulting reduction in
salary. We do conclude that the Commission abused its discretion in assessing any
discipline at all for the very reasons already discussed As stated in Honore, supra,

discipline is justified when one engages in particular conduct detrimental to the

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appointing authority’s efficient operation The Commission’s finding that Ms.
Edmonds could have directed “all” of her administrative resources to the sole task
of manually searching for all parking tickets goes beyond the “reasonable
assistance” requirement of the law. Beyond a manual search, only Xerox could
have provided the relevant information and Ms. Edmonds gave Mr. Hernandez
Xerox’s contact information months before he ever attempted making contact,
despite explicitly expressing her understanding that he would do so. At the time he
did make contact, the information was still available, though at a cost that was
never specified

In demoting Ms. Edmonds, the Commission reasoned that she would “have
less responsibilities [sic] and be better able to focus on specific tasks.” We do not
agree with the Commission’s assessment that this matter concerned a lack of focus.
The statement itself relies on the premise that no misunderstanding existed
between Ms. Edmonds and Mr. Hernandez, and that she simply did not get to the
task of providing him with information Based on our analysis of the facts, we do
not find that to be the case. Ms. Edmonds held her position as Parking
Administrath for eight (8) years without incident prior to the events giving rise
this appeal, and the record does not indicate Ms. Edmonds is unable or unwilling to
perform her duties as Administrator.

Accordingly, We find that the Commission correctly reversed the DPW’s
termination of Ms. Edmonds, but abused its discretion in assessing discipline in the
form of a demotion The Commission manifestly erred in finding that Ms.
Edmonds’ engaged in any conduct that was detrimental to the efficient operation of

the DPW.

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CONCLUSION
For the foregoing reasons, we reverse the Commission’s ruling demoting
Ms. Edmonds, and order that Ms. Edmonds be reinstated to her position as Parking
Administrator, with all compensation and benefits consistent therewith, retroactive
to the date of her termination

REVERSED

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OBRANO, J., CONCURS IN TI-IE RESULT AN]) ASSIGNS REASONS.

l respectfully concur. l agree with the maj ority’s conclusion that the Civil
Service Commission (“CSC”) abused its discretion in disciplining Zepporiah
Edmonds by imposing a demotion and that Edmonds should be reinstated to her
former position as parking administrator with all back pay and emoluments. I find,

however, that the CSC manifestly erred and was clearly wrong in finding that the
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Department of Public Works (“DPW”) satisfied its burden of proving that legal
cause existed for Edmonds’ discipline

An employer cannot subject a permanent classified civil service employee to
disciplinary action except for legal cause expressed in writing. La. Const. Art. X, §
8(A). To establish that it had legal cause, the appointing authority had the burden
of proving two factors: (i) that the complained of conduct occurred, and (ii) that the
complained of conduct impaired the efficiency of the department Abbon‘ v. New
Orleans Polz'ce Dep ’t, 2014-0993, p. 9 (La. App. 4 Cir. 2/11/15), 165 So. 3d 191,
198 (citations omitted). The decision of the CSC “is subject to review on any
question of law or fact upon appeal to this Court, and this Court may only review
findings of fact using the manifestly erroneous/clearly wrong standard of review.”
Cure v. Dep 't of Police, 2007-0166, p. 2 (La. App. 4 Cir. 8/1/07), 964 So.2d 1093,
1094 (citing La. Const. art. X, § 12). “In determining whether the disciplinary
action was based on good cause and whether the punishment is commensurate with
the infraction this Court should not modify the CSC order unless it was arbitrary_,
capricious, or characterized by an abuse of discretion.” Id., 2007-0166, p. 2, 964
So.2d at 1094-95.

The record reflects that the hearing examiner, after hearing evidence and
taking testimony in this matter, concluded and recommended to the CSC that DPW
failed to prove legal cause for discipline by a preponderance of the evidence. The
CSC, however, rejected the hearing examiner’s recommendation In his report, the
hearing examiner noted OIG investigator Eduardo Hernandez’s testimony that he
merely scribbled notes on a scrap of paper, which he did not retain, and could not
recall with particularity what documents he had requested of Edmonds. Thereafter,
Edmonds took extended sick leave Edmonds’ supervisor, DPW Director, Col.
Jernigan specifically testified that Edmonds was not allowed to work from home or

direct other employees while out on sick leave Edmonds, nevertheless, assigned

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another employee, Sherida Emery, to assist Hernandez in her absence Emery told
Hernandez that she could not provide him with the disputed documents and
provided Hernandez with the names and contact information for Xerox employees
to assist him.

I cannot reconcile this testimony with the CSC’s conclusion that Edmonds
“did fail to fully and expediently cooperate with Mr. Hernandez regarding the

OIG’s investigation.” The CSC’s finding is manifestly erroneous

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Office Of The Clerk
_ Court of Appeal, Fourth Circuit
State of Louislana

Justln l. Woods N|ai|lng Address:
Clerk of Court 400 Royal Street 410 Royal Street
Third Flocr New Or|eans, Loulsiana
JoAnn Veal 70130-2199
Chief Deputy C|erk of Court (504} 412-6001
FAx (504)412-6019

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ON OR DELIVERED THlS DAY 12105!2018 TO THE TR|AL JUDGE, COUNSEL OF RECORD AND ALL
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JUSTlN |. WOODS
CLERK OF COURT

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c/w; 2013-cA-0320
c/w: 2018-cA-0342

Brett John Prendergast Sunni J. LeBeouf

4603 Scuth Carrol|ton Avenue Corwin N|. SL Raymond

New Or|eans. LA 70119 ` E|lzabet.l'l Rubirls
DEPUTY C|TV A‘I'|'ORNEY

1300 Percfido Street, Suite 5E03
New Or|eans, LA 70112-

